     Case 4:20-cv-00253-P Document 22 Filed 08/28/20      Page 1 of 21 PageID 272



                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

Brian Keith Umphress,                   §
                                        §
        Plaintiff,                      §
                                        §
v.                                      §      Case No. 4:20-cv-00253-P
                                        §
David C. Hall, et al.,                  §
                                        §
        Defendants.                     §


                            DEFENDANTS' ANSWER

        Defendants David C. Hall, Ronald E. Bunch, David M. Patronella, Darrick L.

McGill, Sujeeth B. Draksharam, Ruben G. Reyes, Valerie Ertz, Frederick C. Tate,

Steve Fischer, Janis Holt, M. Patrick Maguire and David Schenck, each of whom

has been sued solely in his or her official capacity as a member of the State

Commission on Judicial Conduct, file this their answer to Plaintiff's First Amended

Complaint and would respectfully show:

                                     Summary

        Judge Umphress admits that his ultimate goal is to persuade the Supreme

Court to reverse its opinions affording rights to the LGBTQ community (First

Amended Complaint, ¶¶ 65-76); but he has not chosen to sue any counter-party who

would have Article III standing to represent the view contrary to his. In his effort to


                                   Defendants’ Answer
                                      Page 1 of 21
                                                                               3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 2 of 21 PageID 273



create an Article III case or controversy, Judge Umphress says that he learned about

the judicial discipline of a Waco justice of the peace (Judge Hensley) for violation

of Judicial Canon 4A(1). Canon 4A(1) provides that "A judge shall conduct all of

the judge's extra-judicial activities so that they do not cast reasonable doubt on the

judge's capacity to act impartially as a judge." Judge Umphress seeks this Court's

pre-determination that he should not be disciplined under Canon 4A(1) for conduct

which Judge Umphress believes to be similar.

      Judge Umphress does not allege that any disciplinary action has been

threatened or commenced against him. None has.

      Judge Umphress does not allege that Canon 4A(1) is unconstitutional on its

face. He cannot do so. No one can reasonably allege that it is unconstitutional or

otherwise improper for a State to require that a judge conduct extra-judicial activities

so that those activities do not cast reasonable doubt on the judge's capacity to act

impartially. The public's confidence in a judge's capacity to act impartially is

essential to the integrity of our judiciary.

      Instead, Judge Umphress erroneously complains about Canon 4A(1) "as

applied." This is based on Judge Umphress' mistaken belief that the discipline of

Judge Hensley equated these two acts: that a refusal to perform same-sex weddings

(while willing to perform opposite-sex weddings) is, without more, a violation of

Canon 4A(1). That is not what occurred in the discipline of Judge Hensley. Judge
                                     Defendants’ Answer
                                        Page 2 of 21
                                                                               3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 3 of 21 PageID 274



Hensley was disciplined based on an evidentiary record, including her own

testimony.    The State Commission on Judicial Conduct concluded, from the

particular evidentiary record before it, that the totality of the circumstances – not a

single act or a single choice – demonstrated that Judge Hensley's conduct had cast

reasonable doubt on her capacity to act impartially as a judge. Texas statutes gave

Judge Hensley the right to an efficient and prompt judicial review of that disciplinary

decision by a special tribunal consisting of three State courts of appeal justices, if

she believed that the totality of her conduct did not support a finding that she violated

Canon 4A(1) or if she believed that the sanction against her violated her

constitutional rights; but she chose not to appeal from that finding.

      Today's parties can therefore only speculate as to whether the outcome would

have been different for Judge Hensley if she had chosen to use the de novo judicial

review that was available to her.

      The Commission has never decided, nor yet been called upon to decide,

whether a refusal to perform same-sex weddings (while agreeing to perform

opposite-sex weddings) is, without more, a violation of Canon 4A(1). A state-court

lawsuit (brought by Judge Umphress' attorney, but on behalf of a different judge –

Judge Hensley) seeks an answer to that question. When that question is answered

by a State court construing Canon 4A(1), perhaps the answer will be "yes"; perhaps

the answer will be "no." But Federal abstention principles are clear: a Federal court
                                    Defendants’ Answer
                                       Page 3 of 21
                                                                                3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 4 of 21 PageID 275



should not presume that a State court will make an unconstitutional construction of

State law which is susceptible to constitutional application.

      As pleaded below, Judge Umphress' lawsuit should be dismissed. This is so

for many jurisdictional reasons.

      First, although Judge Umphress complains that Canon 4A(1) is

"unconstitutionally vague," the well-established abstention doctrine, based on

respect for comity and respect for State court processes, prevents a Federal court

from deciding the constitutionality of a State law (here, Canon 4A(1)), which is

capable of a construction by a State court that avoids any constitutional issues.

      Second, Judge Umphress has no standing for a lawsuit that alleges his First

Amendment rights have been "chilled."           This is because (i) Judge Umphress

concedes that he continues his practice of performing opposite-sex weddings while

declining to perform same-sex weddings, and thus no action by Defendants has

"chilled" that practice; and (ii) he cannot lawfully be a candidate for re-election prior

to September 14, 2021, so that it is premature to claim that his future campaign

advocacy plans have been "chilled." Thus, Judge Umphress has not alleged, and

cannot show, a specific present objective harm or threat of specific future harm,

which would be necessary to establish standing. Also, for those same reasons and

because Judge Umphress has never been threatened with any investigation or



                                    Defendants’ Answer
                                       Page 4 of 21
                                                                                3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20           Page 5 of 21 PageID 276



disciplinary proceeding, no controversy is ripe for adjudication by an Article III

court.

         Third, no litigant is permitted in Federal court to ask the Court's advice as to

whether a Supreme Court decision does, or does not, contain certain language; and

yet that advisory opinion is what Judge Umphress seeks when he asks this Court to

determine whether the opinion in Obergefell does, or does not, require him to

perform same-sex marriages. Judge Umphress also asks for an improper advisory

opinion when he asks for a declaratory judgment that a change in Supreme Court

membership should result in a determination that the opinion in Obergefell violates

the Tenth Amendment. Judge Umphress further asks for an improper advisory

opinion when he asks this Court to determine if this conduct, or that, or potential

unspecified future campaign language, would violate Canon 4A(1).

         Fourth, the Defendants each enjoy immunity from a lawsuit such as this.

                                      First Defense

         Judge Umphress' complaint fails to state a claim upon which relief can be

granted.

                                     Second Defense

         Federal abstention principles prevent a Federal court from deciding the

constitutionality of a State law (here, Canon 4A(1)), which is capable of a

construction by a State court that avoids any constitutional issues.
                                      Defendants’ Answer
                                         Page 5 of 21
                                                                                 3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20        Page 6 of 21 PageID 277



                                  Third Defense

      Judge Umphress lacks standing.

                                 Fourth Defense

      No case or controversy is ripe for adjudication.

                                  Fifth Defense

      Judge Umphress impermissibly asks the Court for advisory opinions.

                                  Sixth Defense

      Defendants are immune from this action and from the relief sought by Judge

Umphress.     This immunity includes immunity from any injunctive relief and

immunity from any award of attorneys' fees.

                                 Seventh Defense

      Venue is improper. (Venue was challenged by a Rule 12(b)(3) motion, which

the Court denied on August 14, 2020.)

                                 Eighth Defense

      Defendants respond as follows to each allegation in Judge Umphress' First

Amended Complaint:

         1.        As to the first unnumbered paragraph on pages 1-2 of the First

Amended Complaint, Defendants admit the first two sentences; deny the third

sentence, because Judge Umphress has created an incorrect "premise" which the

Commission has never stated or adopted, and because the decision concerning Judge
                                  Defendants’ Answer
                                     Page 6 of 21
                                                                           3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 7 of 21 PageID 278



Hensley examined the totality of the circumstances rather than any single act or

expression; and deny the fourth sentence.

         2.         As to the first unnumbered paragraph on page 2 of the First

Amended Complaint, Defendants admit the first sentence; and lack knowledge or

information sufficient to form a belief about the truth of the second and third

sentences, but have no reason to doubt their accuracy.

         3.         As to the second unnumbered paragraph on page 2 of the First

Amended Complaint, Defendants lack knowledge or information sufficient to form

a belief about the truth of the first and second sentences, but have no reason to doubt

their accuracy; and deny the allegation in the third sentence, that Judge Umphress'

conduct is "like Judge Hensley['s]," because there are significant differences

between the conduct of Judge Hensley shown in the evidentiary record of her

disciplinary proceeding and the conduct of Judge Umphress described in his

Complaint.

         4.         As to the third unnumbered paragraph on page 2 (and continuing

to page 3) of the First Amended Complaint, Defendants lack knowledge or

information sufficient to form a belief about the truth of the first sentence, but have

no reason to doubt its accuracy; and state that the second and third sentences and

portions of the final sentence are purely Judge Umphress' legal opinion and

conclusion, which require no answer under the federal pleading rules; and lack
                                   Defendants’ Answer
                                      Page 7 of 21
                                                                               3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 8 of 21 PageID 279



knowledge or information sufficient to form a belief about the truth of the allegation

in the final sentence that Judge Umphress "acknowledges that he must subordinate

state law to Obergefell when deciding cases or controversies," but have no reason to

doubt their accuracy as to what he acknowledges and believes.

         5.         As to the first unnumbered full paragraph on page 3 of the First

Amended Complaint, Defendants lack knowledge or information sufficient to form

a belief about the truth of the allegations, but have no reason to doubt their accuracy.

         6.         As to the second unnumbered full paragraph on page 3 of the

First Amended Complaint, Defendants deny the allegations.

         7.         Responding to ¶ 1 of the First Amended Complaint, Defendants

deny that this Court has jurisdiction, based on each ground set forth in their Second

through Sixth Defenses.

         8.         Responding to ¶ 2 of the First Amended Complaint, Defendants

deny that venue is proper under 28 U.S.C. § 1391(b)(2), based on the grounds set

forth in their motion to dismiss or transfer (which the Court denied on August 14,

2020) and in their Seventh Defense.

         9.         Responding to ¶ 3 of the First Amended Complaint, Defendants

deny that venue is proper under 28 U.S.C. § 1391(b)(1), based on the grounds set

forth in their reply concerning their motion to dismiss or transfer and in their Seventh

Defense. (The Court denied the motion on August 14, 2020, based on the Court's
                                    Defendants’ Answer
                                       Page 8 of 21
                                                                               3632617.v1
  Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 9 of 21 PageID 280



conclusion that venue is proper under 28 U.S.C. § 1391(b)(2); but the Court

expressed its disagreement with Judge Umphress' argument that venue is proper

under 28 U.S.C. § 1391(b)(1).)

         10         Responding to ¶ 4 of the First Amended Complaint, Defendants

deny that the federal Declaratory Judgment Act creates any substantive cause of

action; admit that Judge Umphress purports to invoke § 1983 and Ex parte Young

to supply him relief, but deny that any relief can be granted on Judge Umphress'

allegations and deny that this Court has jurisdiction, based on each ground set forth

in Defendants' motion to dismiss and Defendants' Second through Sixth Defenses.

         11.        Defendants admit the allegations in ¶¶ 5-17 of the First Amended

Complaint.

         12.        Defendants admit the allegations in ¶¶ 18-19 of the First

Amended Complaint.

         13.        Defendants admit the allegations in ¶ 20 of the First Amended

Complaint but deny any implication as to Judge Umphress' legal opinions and/or

conclusions regarding such matters, which require no answer under the federal

pleading rules.

         14.        Responding to ¶ 21 of the First Amended Complaint, Defendants

admit that the first sentence accurately quotes the cited law; lack knowledge or

information sufficient to form a belief about the truth of the allegations in the second
                                    Defendants’ Answer
                                       Page 9 of 21
                                                                                3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 10 of 21 PageID 281



sentence, but have no reason to doubt their accuracy; and admit that the third

sentence accurately describes the scope of the words in the cited statute, but deny

any implication as to Judge Umphress' legal opinions and/or conclusions regarding

such matters, which require no answer under the federal pleading rules.

         15.        Responding to ¶ 22 of the First Amended Complaint, Defendants

admit the date of the Public Warning issued to Judge Hensley but deny the portions

of the first sentence following the word "because," since the decision was based on

the totality of the circumstances in the evidentiary record before the Commission;

and admit the second sentence is a substantially accurate (but not verbatim) portion

of that evidentiary record.

         16.        Responding to ¶ 23 of the First Amended Complaint, Defendants

deny any implication that the totality of the circumstances in the evidentiary record

before it was limited to "Judge Hensley's recusal-and-referral system" and deny that

those words appeared in the testimony or the decision; admit that the words of Canon

4A(1) are accurately stated; and admit that the words in the final sentence accurately

state a portion of the Commission's Public Warning to Judge Hensley.

         17.        Defendants deny the allegations in ¶ 24 of the First Amended

Complaint, because Judge Umphress has created an incorrect "premise" which the

Commission has never stated or adopted, and because the decision concerning Judge



                                   Defendants’ Answer
                                      Page 10 of 21
                                                                              3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 11 of 21 PageID 282



Hensley examined the totality of the circumstances rather than any single act or

expression.

             18.     Defendants deny the allegations in ¶ 25 of the First Amended

Complaint.

             19.     Responding to ¶ 26 of the First Amended Complaint, Defendants

lack knowledge or information sufficient to form a belief about the truth of the first

sentence, but have no reason to doubt its accuracy; and are unable to evaluate

whether Judge Umphress would be subject to judicial discipline without developing

an evidentiary record that allows the Commission's consideration of the totality of

the circumstances.

             20.     Responding to ¶ 27 of the First Amended Complaint, Defendants

lack knowledge or information sufficient to form a belief about the truth of the first

sentence, but have no reason to doubt its accuracy; deny that the Commission has

yet addressed any evidentiary record or issued any decision to the effect that

"publicly belonging to and supporting [a] church" was a violation of Canon 4A(1),

and deny that the Commission has issued any "interpretation of Canon 4A(1)" that

so states.

             21.     Responding to ¶ 28 of the First Amended Complaint, Defendants

lack knowledge or information sufficient to form a belief about the truth of the

allegations concerning Judge Umphress' conduct and his personal reasons for his
                                   Defendants’ Answer
                                      Page 11 of 21
                                                                              3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 12 of 21 PageID 283



conduct and his intent as to future conduct, but have no reason to doubt their

accuracy; and deny any implication as to Judge Umphress' legal opinions and/or

conclusions regarding such matters, which require no answer under the federal

pleading rules.

         22.        Responding to ¶ 29 of the First Amended Complaint, Defendants

lack knowledge or information sufficient to form a belief about the truth of the

allegations concerning Judge Umphress' intentions as to his future conduct, but have

no reason to doubt their accuracy; and would aver that no application to appear on

the ballot for the 2022 election is lawfully permitted prior to September 14, 2021,

pursuant to Section 172.023 of the Texas Election Code.

         23.        Defendants deny the allegations in ¶ 30 of the First Amended

Complaint. Judge Umphress would be at risk of violation of Canon 4A(1) if he were

to conduct his extra-judicial activities so that those activities cast reasonable doubt

on the judge's capacity to act impartially; and he would not be at risk of violation of

Canon 4A(1) if he were to conduct his extra-judicial activities so that those activities

did not cast reasonable doubt on the judge's capacity to act impartially. Defendants

deny that the Commission has yet addressed any evidentiary record or issued any

decision to the effect that "refusal to officiate at same-sex marriage ceremonies,"

without more, or "joining and supporting a church that opposes same-sex marriage



                                    Defendants’ Answer
                                       Page 12 of 21
                                                                               3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20        Page 13 of 21 PageID 284



and homosexual conduct," without more, was a violation of Canon 4A(1), and deny

that the Commission has issued any "interpretation of Canon 4A(1)" that so states.

         24.       Defendants deny the allegations in ¶¶ 31 and 32 of the First

Amended Complaint.

         25.       Responding to ¶ 33 of the First Amended Complaint, Defendants

admit that the Commission has never yet been called upon to rule upon any

evidentiary record, or to reach any legal conclusion, as to the legal proposition of

whether "Obergefell or the Fourteenth Amendment required Judge Hensley to

officiate at same-sex marriages once she decided to continue officiating at opposite-

sex weddings."

         26.       Responding to ¶ 34 of the First Amended Complaint, and for the

reasons set forth in their motion to dismiss and in their Second through Sixth

Defenses, Defendants deny that this Court has jurisdiction to advise Judge

Umphress, via declaratory judgment or otherwise, what is or is not required by the

law regarding his marriage practices.

         27.       Defendants lack knowledge or information sufficient to form a

belief about the truth of the allegations in ¶ 35 of the First Amended Complaint, but

have no reason to doubt their accuracy as to what Judge Umphress "acknowledges"

and "believes."



                                  Defendants’ Answer
                                     Page 13 of 21
                                                                             3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 14 of 21 PageID 285



         28.        Paragraph 36 of the First Amended Complaint, in which Judge

Umphress contends that he must be treated like clergy with respect to any

requirements of same-sex weddings, consists solely of Judge Umphress' legal

arguments and/or conclusions, for which no answer is required under the federal

pleading rules. But if the Court determines that it has jurisdiction to adjudicate Judge

Umphress' claims, then Defendants ask the Court to determine whether – when

Judge Umphress officiates at a wedding solely by virtue of his being a State judge –

his conduct constitutes State action, which would be subject to the limitations of the

Establishment Clause of the First Amendment of the United States Constitution, the

Due Process and Equal Protection Clauses of the Fourteenth Amendment of the

United States Constitution and of Article I, §§ 3, 3a and 19 of the Texas Constitution,

Article I, § 6, of the Texas Constitution, and Section 106.001 of the Texas Civil

Practice & Remedies Code (which prohibits discrimination by governmental actors

because of a person's sex); and, if so, whether different constitutional principles may

be applicable to Judge Umphress' conduct, as contrasted with legal principles

affecting conduct of clergy. Defendants also aver that the question asked by Judge

Umphress – whether Obergefell requires a judge (or clergy) to conduct same-sex

weddings – was not the basis for the Public Warning issued to Judge Hensley, whose

conduct, according to the totality of the circumstances in the evidentiary record



                                    Defendants’ Answer
                                       Page 14 of 21
                                                                                3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20         Page 15 of 21 PageID 286



before the Commission, violated Canon 4A(1) by casting reasonable doubt on her

ability to act impartially.

          29.        Defendants deny that the Court should issue the declaratory

judgment requested in ¶ 37 of the First Amended Complaint.

          30.        Paragraph 38 of the First Amended Complaint consists solely of

Judge Umphress' characterization of a legal principle, for which no answer is

required under the federal pleading rules. Defendants would aver, however, that

Judge Umphress' characterization of the White case appears improperly to ignore the

Supreme Court's discussion of strict scrutiny and also appears to contradict the legal

propositions that Judge Umphress "acknowledges" in ¶¶ 39-41.

          31.        Defendants lack knowledge or information sufficient to form a

belief about the truth of the allegations in ¶¶ 39-41 of the First Amended Complaint

as to what Judge Umphress "acknowledges" and as to his "view," but have no reason

to doubt their accuracy as to what he acknowledges and believes.

          32.        Paragraphs 42-43 of the First Amended Complaint consist solely

of Judge Umphress' legal arguments, for which no answer is required under the

federal pleading rules.

          33.        Defendants deny that the Court should issue the declaratory or

injunctive relief requested in ¶¶ 44-45 of the First Amended Complaint.



                                   Defendants’ Answer
                                      Page 15 of 21
                                                                              3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20       Page 16 of 21 PageID 287



         34.       Paragraphs 46-53 of the First Amended Complaint are argument,

to which no answer is required under the federal pleading rules. Defendants deny

the passing references to "as the Commission apparently believes" and "the

Commission's current interpretation" and "the Commission's equating disapproval."

         35.       Defendants deny that the Court should issue the declaratory or

injunctive relief requested in ¶¶ 54-55 of the First Amended Complaint.

         36.       Defendants deny the allegations in ¶ 56 of the First Amended

Complaint.

         37.       Paragraphs 57-60 of the First Amended Complaint consist of

legal propositions and argument, to which no answer is required under the federal

pleading rules.

         38.       Responding to ¶ 61 of the First Amended Complaint, the State

has a compelling interest in prohibiting conduct that casts reasonable doubt on a

judge's capacity to act impartially. The Commission has never expressed any view

that unwilling judges or justices of the peace must officiate at same-sex marriage

ceremonies. Further, the second sentence of ¶ 61 consists of legal propositions and

argument, to which no answer is required under the federal pleading rules.

         39.       Paragraph 62 of the First Amended Complaint consists of

argument, to which no answer is required under the federal pleading rules.

Defendants aver that any determination as to whether a particular judge's conduct
                                  Defendants’ Answer
                                     Page 16 of 21
                                                                             3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20       Page 17 of 21 PageID 288



casts reasonable doubt on the judge's capacity to act impartially (including

expressions of disapproval) is appropriately determined from the totality of

circumstances.

         40.       Defendants deny that the Court should issue the relief requested

in ¶¶ 63-64 of the First Amended Complaint.

         41.       Responding to ¶¶ 65-72 of the First Amended Complaint,

Defendants deny the factual allegations (including "bullying" and "threatening

behavior") and Defendants are not required under the federal pleading rules to

respond to the legal argument therein.

         42.       Defendants admit the allegations in ¶ 73 of the First Amended

Complaint.

         43.       Paragraph 74 of the First Amended Complaint consists of legal

propositions and argument, to which no answer is required under the federal

pleading rules.

         44.       Responding to ¶ 75 of the First Amended Complaint, and for the

reasons set forth in their motion to dismiss and in their Second through Sixth

Defenses, Defendants deny that this Court has jurisdiction to ignore the Supreme

Court's decision in Obergefell, to ignore the Fifth Circuit's decision in De Leon v.

Abbott, or to advise Judge Umphress, via declaratory judgment or otherwise, what



                                  Defendants’ Answer
                                     Page 17 of 21
                                                                            3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20           Page 18 of 21 PageID 289



is or is not required by the Tenth Amendment or the "Republican Form of

Government Clause" of the U.S. Constitution.

          45.       Paragraph 76 of the First Amended Complaint contains only

legal propositions and arguments and Judge Umphress' expression of desire to

preserve an issue for certiorari in the Supreme Court, to which no answer is required

under the federal pleading rules.

                                        Prayer

      Defendants respectfully pray that this action be dismissed, or alternatively that

it be transferred to the Western District of Texas, or alternatively that Plaintiff take

nothing by his claims, with costs awarded to Defendants. Defendants further pray

for all other relief, at law or in equity, to which they may be justly entitled.




                                    Defendants’ Answer
                                       Page 18 of 21
                                                                                   3632617.v1
Case 4:20-cv-00253-P Document 22 Filed 08/28/20   Page 19 of 21 PageID 290



                                  Respectfully submitted,

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                             Defendants’ Answer
                                Page 19 of 21
                                                                        3632617.v1
 Case 4:20-cv-00253-P Document 22 Filed 08/28/20          Page 20 of 21 PageID 291



                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was served upon the following on this

28th day of August, 2020, both (i) by filing it with the Court's electronic filing system

and (ii) by email:

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                                    Defendants’ Answer
                                       Page 20 of 21
                                                                                3632617.v1
Case 4:20-cv-00253-P Document 22 Filed 08/28/20    Page 21 of 21 PageID 292



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                                         /s/ John J. McKetta III
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                             Defendants’ Answer
                                Page 21 of 21
                                                                     3632617.v1
